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6    Attorney for Defendant
     CRYSTAL RUSSO
7
8
                              IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12
13   UNITED STATES OF AMERICA,                   )   Case No. 2:11-CR-0198 MCE
                                                 )
14                            Plaintiff,         )
                                                 )   STIPULATION AND ORDER
15                vs.                            )   CONTINUING STATUS CONFERENCE
                                                 )   AND EXCLUDING TIME
16   CRYSTAL RUSSO,                              )
                                                 )
17                            Defendant.         )   Date: October 24, 2013
                                                 )   Time: 9:00 a.m.
18                                               )   Judge: Hon. Morrison C. England
19
20          It is hereby stipulated and agreed between defendant, Crystal Russo, and plaintiff, United
21   States of America, that the status conference scheduled for October 24, 2013, may be
22   rescheduled for December 12, 2013, at 9:00 a.m. and time under the Speedy Trial Act excluded
23   as set forth below.
24          The government has requested additional information from the defense regarding status
25   of the case, which was under review by the previously-assigned prosecutor when he left the U.S.
26   Attorney’s office. Additional discovery had been promised at that time but has not yet been
27   provided. The case has been reassigned within that office but new counsel needs additional time
28   to review it. The parties therefore agree that the ends of justice served by this continuance

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1    outweigh the best interests of the public and the defendant in a speedy trial and ask that time
2    under the Speedy Trial Act should be excluded through December 12, 2013, pursuant to 18
3    U.S.C. § 3161(h)(1)(g) and (h)(7)(a) and (b)(IV)..
4                                                  Respectfully Submitted,
5                                                  HEATHER E. WILLIAMS
                                                   Federal Defender
6
7    Dated: October 21, 2013                       /s/ T. Zindel__________________
                                                   TIMOTHY ZINDEL
8                                                  Assistant Federal Defender
                                                   Attorney for CRYSTAL RUSSO
9
10                                                 BENJAMIN WAGNER
                                                   United States Attorney
11
12   Dated: October 21, 2013                       /s/ T. Zindel for J. Hitt     ____
                                                   JASON HITT
13                                                 Assistant U.S. Attorney
14
15                                               ORDER
16          The status conference is continued to December 12, 2013, at 9:00 a.m. The court finds
17   that a continuance is necessary for the reasons stated above and that the ends of justice served by
18   granting a continuance outweigh the best interests of the public and the defendant in a speedy
19   trial. Time is therefore excluded from the date of this order through December 12, 2013,
20   pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).
21          IT IS SO ORDERED.
22   Dated: October 23, 2013
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